                         Case 10-20270-mkn                           Doc 16          Entered 06/19/10 00:01:20   Page 1 of 38
B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF NEVADA
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
            $39 administrative fee: Total fee $274)


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Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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B 201B (Form 201B) (12/09)
                                                                 United States Bankruptcy Court
                                                                                     District of Nevada
 In re       Kevin G. Smith                                                                                             Case No.       10-20270
                                                                                            Debtor(s)                   Chapter        11


                                     CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                         UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                             Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Kevin G. Smith                                                                               X /s/ Kevin G. Smith                           June 16, 2010
 Printed Name(s) of Debtor(s)                                                                   Signature of Debtor                          Date

 Case No. (if known) 10-20270                                                                 X
                                                                                                  Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                             Case 10-20270-mkn                           Doc 16            Entered 06/19/10 00:01:20         Page 4 of 38
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                 United States Bankruptcy Court
                                                                                  District of Nevada
  In re          Kevin G. Smith                                                                                        Case No.    10-20270
                                                                                                                ,
                                                                                               Debtor
                                                                                                                       Chapter                 11




                                                                     SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                            ATTACHED               NO. OF            ASSETS                 LIABILITIES           OTHER
                                                           (YES/NO)              SHEETS

A - Real Property                                                Yes                2                           0.00


B - Personal Property                                            Yes                4                    24,300.00


C - Property Claimed as Exempt                                   Yes                1


D - Creditors Holding Secured Claims                             Yes                7                                        5,444,700.00


E - Creditors Holding Unsecured                                  Yes                1                                                0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                  Yes                3                                        2,208,334.00
    Nonpriority Claims

G - Executory Contracts and                                      Yes                1
   Unexpired Leases

H - Codebtors                                                    Yes                1


I - Current Income of Individual                                 Yes                1                                                                 35,622.00
    Debtor(s)

J - Current Expenditures of Individual                           Yes                1                                                                 34,875.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                          22


                                                                           Total Assets                  24,300.00


                                                                                                 Total Liabilities           7,653,034.00




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Form 6 - Statistical Summary (12/07)


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                                                                 United States Bankruptcy Court
                                                                                  District of Nevada
  In re           Kevin G. Smith                                                                                         Case No.   10-20270
                                                                                                                 ,
                                                                                               Debtor
                                                                                                                         Chapter                 11


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                         Amount

              Domestic Support Obligations (from Schedule E)                                                          0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                      0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                      0.00

              Student Loan Obligations (from Schedule F)                                                              0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                      0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                      0.00

                                                                                     TOTAL                            0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                          35,622.00

              Average Expenses (from Schedule J, Line 18)                                                        34,875.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                           31,622.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                               0.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                      0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                               0.00

              4. Total from Schedule F                                                                                                 2,208,334.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                             2,208,334.00




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B6A (Official Form 6A) (12/07)


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  In re          Kevin G. Smith                                                                                        Case No.    10-20270
                                                                                                              ,
                                                                                                Debtor

                                                               SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                              Husband,    Current Value of
                                                                                      Nature of Debtor's       Wife,     Debtor's Interest in     Amount of
                Description and Location of Property                                  Interest in Property     Joint, or  Property, without      Secured Claim
                                                                                                             Community Deducting  any Secured
                                                                                                                         Claim or Exemption

1115 Casa Palermo Circle, Henderson NV 89011                                         Fee simple                   -               Unknown               485,000.00

1283 Sonatina Drive, Henderson NV 89052                                              Fee simple                   -               Unknown               144,000.00

1032 Logan Patrick Drive, Henderson NV 89052                                         Fee simple                   -               Unknown               370,000.00

1729 Chevrus Court, Henderson NV 89012                                               Fee simple                   -               Unknown               280,000.00

2477 Brandywine Shoals Place, Henderson NV                                           Fee simple                   -               Unknown               275,000.00
89052

1907 Tanner Valley Circle, Paradise Town, NV 89123                                   Fee simple                   -               Unknown               270,000.00

1281 Sonatina Drive, Henderson NV                                                    Fee simple                   -               Unknown               300,000.00

487 Donavista Court, Henderson NV 89052                                              Fee simple                   -               Unknown               245,000.00

8871 Torino Ave, Enterprise NV 89148                                                                              -               Unknown               233,000.00

1032 Logan Patrick Drive, Henderson, NV 89052                                        Fee simple                   -               Unknown               365,000.00

1729 Chevrus Court, Henderson, NV 89012                                              Fee simple                   -               Unknown               278,000.00

2975 Tara Murphy Drive, Henderson NV 89044                                           Fee simple                   -               Unknown               205,000.00

116 Almendio Lane, Henderson NV 89074                                                Fee simple                   -               Unknown               134,000.00

536 Moses Lake Court, Henderson NV 89002                                             Fee simple                   -               Unknown               175,000.00

723 Sharon Hills Street, Henderson NV 89052                                          Fee simple                   -               Unknown               139,000.00

226 Kindred Point Court, Henderson NV 89052                                          Fee simple                   -               Unknown               142,000.00

2204 Valley Heights Avenue, Henderson NV 89052                                       Fee simple                   -               Unknown               158,000.00


                                                                                                              Sub-Total >              0.00     (Total of this page)


  1     continuation sheets attached to the Schedule of Real Property

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B6A (Official Form 6A) (12/07) - Cont.




  In re          Kevin G. Smith                                                                                            Case No.   10-20270
                                                                                                               ,
                                                                                                Debtor

                                                               SCHEDULE A - REAL PROPERTY
                                                                                       (Continuation Sheet)




                                                                                                               Husband,    Current Value of
                                                                                      Nature of Debtor's        Wife      Debtor's Interest in           Amount of
                Description and Location of Property                                  Interest in Property      Joint, or  Property, without            Secured Claim
                                                                                                              Community Deducting  any Secured
                                                                                                                          Claim or Exemption

1455 Bourne Valley Court, Paradise Town, NV 89123                                    Fee simple                    -                  Unknown                  115,000.00

9054 Living Rose Street, Paradise Town, NV 89123                                     Fee simple                    -                  Unknown                   68,000.00

10015 Swimming Hole Street, Enterprise, NV 98123                                     Fee simple                    -                  Unknown                   72,000.00

3124 Quail Crest Avenue, Henderson NV 89052                                          Fee simple                    -                  Unknown                   75,000.00

1649 Amador Lane, Henderson NV 89012                                                 Fee simple                    -                  Unknown                  242,000.00

934 Cantabria Heights Avenue, Enterprise, NV                                         Fee simple                    -                  Unknown                   89,000.00
89123

10349 Adams Chase Street, Enterprise, NV 89123                                                                     -                  Unknown                  260,000.00

Lot 401, Swains Creek Pines, Unit 3, Kane County,                                    Fee simple                    -                  Unknown                   25,000.00
Utah

5339 Edna Crane Avenue, Las Vegas, Nevada 89031                                                                    -                  Unknown                   90,000.00




                                                                                                               Sub-Total >               0.00          (Total of this page)

                                                                                                                       Total >           0.00
Sheet     1      of    1     continuation sheets attached to the Schedule of Real Property
                                                                                                               (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re          Kevin G. Smith                                                                                             Case No.       10-20270
                                                                                                                ,
                                                                                               Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

1.    Cash on hand                                              cash                                                                   -                           100.00

2.    Checking, savings or other financial                      Chase - checking                                                       -                        1,000.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                        Bank of America - checking                                             -                           500.00
      thrift, building and loan, and
      homestead associations, or credit                         Nevada Fed Credit - checking                                           -                           700.00
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                         X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                          Household Goods and Furnishings                                        -                        5,500.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                         X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                          Clothing                                                               -                        2,500.00

7.    Furs and jewelry.                                     X

8.    Firearms and sports, photographic,                    X
      and other hobby equipment.

9.    Interests in insurance policies.                          Union Security Wall Street Series Life Insurance                       -                      Unknown
      Name insurance company of each
      policy and itemize surrender or                           Allstate Life Insurance                                                -                      Unknown
      refund value of each.

10. Annuities. Itemize and name each                        X
    issuer.




                                                                                                                                       Sub-Total >          10,300.00
                                                                                                                           (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Kevin G. Smith                                                                                             Case No.       10-20270
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

11. Interests in an education IRA as                        X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                      X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                         Carmichael 8 Investments, LLC                                          -                      Unknown
    and unincorporated businesses.
    Itemize.                                                    Dana Point Condo, LLC                                                  -                      Unknown

                                                                Act 1 Realty Inc.                                                      -                      Unknown

                                                                Kevin Smith, Inc.                                                      -                      Unknown

                                                                KGS Investments, LLC                                                   -                      Unknown

14. Interests in partnerships or joint                      X
    ventures. Itemize.

15. Government and corporate bonds                          X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                    X

17. Alimony, maintenance, support, and                      X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                     X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                            X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.


                                                                                                                                       Sub-Total >                  0.00
                                                                                                                           (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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                           Case 10-20270-mkn                           Doc 16              Entered 06/19/10 00:01:20               Page 10 of 38
B6B (Official Form 6B) (12/07) - Cont.




  In re          Kevin G. Smith                                                                                             Case No.       10-20270
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

21. Other contingent and unliquidated                       X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                          X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                         X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                    X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                          2006 Chrysler 300 Tourin                                               -                        8,000.00
    other vehicles and accessories.
                                                                1995 Ford Ranger                                                       -                        1,000.00

                                                                2005 Toyota Avalon                                                     -                        5,000.00

26. Boats, motors, and accessories.                         X

27. Aircraft and accessories.                               X

28. Office equipment, furnishings, and                      X
    supplies.

29. Machinery, fixtures, equipment, and                     X
    supplies used in business.

30. Inventory.                                              X

31. Animals.                                                X

32. Crops - growing or harvested. Give                      X
    particulars.

33. Farming equipment and                                   X
    implements.

34. Farm supplies, chemicals, and feed.                     X

                                                                                                                                       Sub-Total >          14,000.00
                                                                                                                           (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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                           Case 10-20270-mkn                           Doc 16              Entered 06/19/10 00:01:20               Page 11 of 38
B6B (Official Form 6B) (12/07) - Cont.




  In re          Kevin G. Smith                                                                                             Case No.       10-20270
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

35. Other personal property of any kind                     X
    not already listed. Itemize.




                                                                                                                                       Sub-Total >                  0.00
                                                                                                                           (Total of this page)
                                                                                                                                            Total >         24,300.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                                   (Report also on Summary of Schedules)
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                            Case 10-20270-mkn                           Doc 16              Entered 06/19/10 00:01:20                  Page 12 of 38
 B6C (Official Form 6C) (4/10)


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   In re          Kevin G. Smith                                                                                              Case No.           10-20270
                                                                                                                  ,
                                                                                                Debtor

                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                              with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                        Value of                 Current Value of
                    Description of Property                                                Each Exemption                            Claimed                  Property Without
                                                                                                                                    Exemption               Deducting Exemption
Household Goods and Furnishings
Household Goods and Furnishings                                                Nev. Rev. Stat. § 21.090(1)(b)                               5,500.00                         5,500.00

Wearing Apparel
Clothing                                                                       Nev. Rev. Stat. § 21.090(1)(b)                               2,500.00                         2,500.00

Interests in Insurance Policies
Union Security Wall Street Series Life Insurance                               Nev. Rev. Stat. § 21.090(1)(k)                                     0.00                     Unknown

Allstate Life Insurance                                                        Nev. Rev. Stat. § 21.090(1)(k)                                     0.00                     Unknown

Automobiles, Trucks, Trailers, and Other Vehicles
2006 Chrysler 300 Tourin                                                       Nev. Rev. Stat. § 21.090(1)(f)                             Unknown                            8,000.00

1995 Ford Ranger                                                               Nev. Rev. Stat. § 21.090(1)(f)                               1,000.00                         1,000.00

2005 Toyota Avalon                                                             Nev. Rev. Stat. § 21.090(1)(f)                               5,000.00                         5,000.00




                                                                                                                  Total:                  14,000.00                        22,000.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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   In re          Kevin G. Smith                                                                                               Case No.      10-20270
                                                                                                                  ,
                                                                                                   Debtor

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                              C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
              CREDITOR'S NAME                                 O                                                            O    N   I
                                                              D   H         DATE CLAIM WAS INCURRED,                       N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                            T    I   P       WITHOUT          UNSECURED
            INCLUDING ZIP CODE,                               B   W            NATURE OF LIEN, AND                         I    Q   U                        PORTION, IF
                                                              T   J          DESCRIPTION AND VALUE                         N    U   T
                                                                                                                                           DEDUCTING
           AND ACCOUNT NUMBER                                 O                                                            G    I   E       VALUE OF            ANY
             (See instructions above.)
                                                                  C                OF PROPERTY
                                                              R
                                                                                 SUBJECT TO LIEN
                                                                                                                           E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. xxxxxx6970                                                1115 Casa Palermo Circle, Henderson                       E
                                                                      NV 89011                                                  D

America's Servicing Company
PO Box 10328
Des Moines, IA 50306
                                                                  -

                                                                       Value $                              Unknown                         485,000.00             Unknown
Account No. xxxxx2222                                                 1032 Logan Patrick Drive, Henderson NV
                                                                      89052
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         370,000.00             Unknown
Account No. xxxxx2246                                                 1729 Chevrus Court, Henderson NV
                                                                      89012
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         280,000.00             Unknown
Account No. xxxxx2618                                                 2477 Brandywine Shoals Place,
                                                                      Henderson NV 89052
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         275,000.00             Unknown
                                                                                                                        Subtotal
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_____ continuation sheets attached                                                                                                         1,410,000.00                    0.00
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                            Case 10-20270-mkn                           Doc 16              Entered 06/19/10 00:01:20                   Page 14 of 38
 B6D (Official Form 6D) (12/07) - Cont.




   In re          Kevin G. Smith                                                                                               Case No.      10-20270
                                                                                                                  ,
                                                                                                   Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        (Continuation Sheet)

                                                              C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                  O                                                            O    N   I
                                                              D   H             DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                            T    I   P       WITHOUT         UNSECURED
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            INCLUDING ZIP CODE,                               B
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           AND ACCOUNT NUMBER                                 O   C                   OF PROPERTY                          G    I   E       VALUE OF
              (See instructions.)                             R
                                                                                     SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                           N    A
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Account No. xxxxx2238                                                 1907 Tanner Valley Circle, Paradise                       E
                                                                      Town, NV 89123                                            D

BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         270,000.00            Unknown
Account No. xxxxx8887                                                 1281 Sonatina Drive, Henderson NV

BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         300,000.00            Unknown
Account No. xxxxx5439                                                 487 Donavista Court, Henderson NV
                                                                      89052
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         245,000.00            Unknown
Account No. xxxxx2642                                                 8871 Torino Ave, Enterprise NV 89148

BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         233,000.00            Unknown
Account No. xxxxx2222                                                 1032 Logan Patrick Drive, Henderson,
                                                                      NV 89052
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         365,000.00            Unknown
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Sheet _____    6
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                           1,413,000.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re          Kevin G. Smith                                                                                               Case No.      10-20270
                                                                                                                  ,
                                                                                                   Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        (Continuation Sheet)

                                                              C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                  O                                                            O    N   I
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           AND MAILING ADDRESS                                E                                                            T    I   P       WITHOUT        UNSECURED
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                                                                                     SUBJECT TO LIEN                       E    D   D     COLLATERAL
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Account No. xxxxx2246                                                 1729 Chevrus Court, Henderson, NV                         E
                                                                      89012                                                     D

BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         278,000.00           Unknown
Account No. xxxxx5463                                                 1455 Bourne Valley Court, Paradise
                                                                      Town, NV 89123
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         116,000.00           Unknown
Account No. xxxxx9105                                                 2975 Tara Murphy Drive, Henderson NV
                                                                      89044
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         205,000.00           Unknown
Account No. xxxxx9177                                                 116 Almendio Lane, Henderson NV
                                                                      89074
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         134,000.00           Unknown
Account No. xxxxx9161                                                 536 Moses Lake Court, Henderson NV
                                                                      89002
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         175,000.00           Unknown
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Sheet _____    6
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                            908,000.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)




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                            Case 10-20270-mkn                           Doc 16              Entered 06/19/10 00:01:20                   Page 16 of 38
 B6D (Official Form 6D) (12/07) - Cont.




   In re          Kevin G. Smith                                                                                               Case No.      10-20270
                                                                                                                  ,
                                                                                                   Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        (Continuation Sheet)

                                                              C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                  O                                                            O    N   I
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           AND MAILING ADDRESS                                E                                                            T    I   P       WITHOUT        UNSECURED
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                                                                                                                           N    A
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Account No. xxxxx9121                                                 723 Sharon Hills Street, Henderson NV                     E
                                                                      89052                                                     D

BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         139,000.00           Unknown
Account No. xxxxx9169                                                 226 Kindred Point Court, Henderson NV
                                                                      89052
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         142,000.00           Unknown
Account No. xxxxx5447                                                 2204 Valley Heights Avenue, Henderson
                                                                      NV 89052
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         158,000.00           Unknown
Account No. xxxxx5463                                                 1455 Bourne Valley Court, Paradise
                                                                      Town, NV 89123
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
                                                                  -

                                                                       Value $                              Unknown                         115,000.00           Unknown
Account No. xxxxx9528                                                 10349 Adams Chase Street, Enterprise,
                                                                      NV 89123
BAC Home Loans Servicing
450 American Street
Simi Valley, CA 93065
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                                                                       Value $                              Unknown                         230,000.00           Unknown
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Sheet _____    6
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                            784,000.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)




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   In re          Kevin G. Smith                                                                                               Case No.      10-20270
                                                                                                                  ,
                                                                                                   Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        (Continuation Sheet)

                                                              C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
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           AND MAILING ADDRESS                                E                                                            T    I   P       WITHOUT        UNSECURED
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                                                                                                                           N    A
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Account No.                                                           May 26, 2010                                              E
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Brigette K. Palmer                                                    Deed of Trust
238 Ventanna Village Lane
Henderson, NV 89074                                                 Lot 401, Swains Creek Pines, Unit 3,
                                                                  - Kane County, Utah

                                                                       Value $                              Unknown                          25,000.00           Unknown
Account No. xxxxxx6691                                                10349 Adams Chase Street, Enterprise,
                                                                      NV 89123
CCO Mortgage Corp
10561 Telegraph Road
Glen Allen, VA 23059
                                                                  -

                                                                       Value $                              Unknown                          30,000.00           Unknown
Account No. xxxxxx8024                                                9054 Living Rose Street, Paradise Town,
                                                                      NV 89123
Chase Home Finance
PO Box 24696
Columbus, OH 43224-4696
                                                                  -

                                                                       Value $                              Unknown                          68,000.00           Unknown
Account No. xxxxxx8008                                                10015 Swimming Hole Street, Enterprise,
                                                                      NV 98123
Chase Home Finance
PO Box 24696
Columbus, OH 43224-4696
                                                                  -

                                                                       Value $                              Unknown                          72,000.00           Unknown
Account No. xxxxxx7225                                                3124 Quail Crest Avenue, Henderson NV
                                                                      89052
Chase Home Finance
PO Box 24696
Columbus, OH 43224-4696
                                                                  -

                                                                       Value $                              Unknown                          75,000.00           Unknown
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Sheet _____    6
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                            270,000.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re          Kevin G. Smith                                                                                               Case No.      10-20270
                                                                                                                  ,
                                                                                                   Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        (Continuation Sheet)

                                                              C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                  O                                                            O    N   I
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           AND MAILING ADDRESS                                E                                                            T    I   P       WITHOUT        UNSECURED
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           AND ACCOUNT NUMBER                                 O   C                   OF PROPERTY                          G    I   E       VALUE OF
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                                                                                     SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                           N    A
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Account No. xxxxxx7721                                                1649 Amador Lane, Henderson NV 89012                      E
                                                                                                                                D

Chase Home Finance
PO Box 24696
Columbus, OH 43224-4696
                                                                  -

                                                                       Value $                              Unknown                         242,000.00           Unknown
Account No. xxxxxx4414                                                934 Cantabria Heights Avenue,
                                                                      Enterprise, NV 89123
Chase Home Finance
PO Box 24696
Columbus, OH 43224-4696
                                                                  -

                                                                       Value $                              Unknown                          89,000.00           Unknown
Account No. xxxxxx2319                                                2006 Chrysler 300 Tourin

Chrysler Financial
PO Box 8065
Royal Oak, MI 48068
                                                                  -

                                                                       Value $                              8,000.00                          6,700.00                   0.00
Account No. xxxxxx2732                                                1283 Sonatina Drive, Henderson NV
                                                                      89052
PHH Mortgage Services
Attn: Bankruptcy
2001 Bishops Gate Blvd
                                                                  -
Mount Laurel, NJ 08054

                                                                       Value $                              Unknown                         144,000.00           Unknown
Account No. xxxxxx3274                                                10319 Adams Chase Street, Enterprise
                                                                      NV 89123
PHH Mortgage Services
Attn: Bankruptcy
2001 Bishops Gate Blvd
                                                                  -
Mount Laurel, NJ 08054

                                                                       Value $                              Unknown                          88,000.00           Unknown
       5
Sheet _____    6
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                            569,700.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)




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   In re          Kevin G. Smith                                                                                               Case No.      10-20270
                                                                                                                  ,
                                                                                                   Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        (Continuation Sheet)

                                                              C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                  O                                                            O    N   I
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                                                                                     SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No.                                                           Deed of Trust                                             E
                                                                                                                                D

The Morris Palmer Family Trust                                        5339 Edna Crane Avenue, Las Vegas,
c/o Gary Compton, Esq.                                                Nevada 89031
2950 E Flamingo # L
                                                              X -
Las Vegas, NV 89121

                                                                       Value $                              Unknown                          90,000.00            Unknown
Account No.




                                                                       Value $
Account No.




                                                                       Value $
Account No.




                                                                       Value $
Account No.




                                                                       Value $
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Sheet _____    6
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                             90,000.00                    0.00
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)
                                                                                                                           Total           5,444,700.00                   0.00
                                                                                                 (Report on Summary of Schedules)

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B6E (Official Form 6E) (4/10)


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  In re          Kevin G. Smith                                                                                                    Case No.            10-20270
                                                                                                                      ,
                                                                                                  Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0          continuation sheets attached
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 B6F (Official Form 6F) (12/07)


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   In re          Kevin G. Smith                                                                                         Case No.         10-20270
                                                                                                                     ,
                                                                                                   Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                            C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                        O                                                               O   N   I
                    MAILING ADDRESS                                         D   H                                                           N   L   S
                  INCLUDING ZIP CODE,                                       E                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                W
                 AND ACCOUNT NUMBER
                                                                            B               CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                            T   J                                                           N   U   T
                                                                            O                 IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                R
                                                                                C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                                                                                 T   T
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                                                                                                                                                D

American Express
PO Box 297879                                                                   -
Fort Lauderdale, FL 33329-7879

                                                                                                                                                                             0.00
Account No. xxxxxx5581

Bank of America
PO Box 26012                                                                    -
Greensboro, NC 27410

                                                                                                                                                                         221.00
Account No. 5581                                                                    Opened 8/01/99 Last Active 3/08/10
                                                                                    CreditCard
Bank Of America
Attn: Bankruptcy NC4-105-03-14                                                  -
Po Box 26012
Greensboro, NC 27410
                                                                                                                                                                         221.00
Account No. xxxxxxxxxx7099                                                          Opened 9/01/85 Last Active 11/10/05
                                                                                    CheckCreditOrLineOfCredit
Bank Of America
4161 Piedmont Pkwy                                                              -
Greensboro, NC 27410

                                                                                                                                                                             0.00

                                                                                                                                        Subtotal
 2
_____ continuation sheets attached                                                                                                                                       442.00
                                                                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Kevin G. Smith                                                                                         Case No.     10-20270
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxxxxx9000                                                              Opened 8/01/06 Last Active 3/01/10                      E
                                                                                    CreditCard                                              D

Barclays Bank Delaware
Attention: Customer Support                                                     -
Department
Po Box 8833
Wilmington, DE 19899                                                                                                                                                  0.00
Account No.                                                                         January 2008

Black Mountain Community Bank
1700 West Horizon Ridge Parkway                                                 -                                                       X
Suite 101
Henderson, NV 89012
                                                                                                                                                          2,200,000.00
Account No. xxxxxxxx4098                                                            Opened 11/01/07 Last Active 5/11/08
                                                                                    CreditCard
Chase
201 N. Walnut St//De1-1027                                                      -
Wilmington, DE 19801

                                                                                                                                                                      0.00
Account No. xxxxxx2319                                                              Opened 12/01/06 Last Active 5/17/10
                                                                                    Automobile
Chrysler Financial
Po Box 8065                                                                     -
Royal Oak, MI 48068

                                                                                                                                                                6,710.00
Account No. xxxxxxxxxxxxx8643                                                       01 Republic Services

Coasttocoast
101 Hodencamp Rd Ste 120                                                        -
Thousand Oaks, CA 91360

                                                                                                                                                                  420.00

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                          2,207,130.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Kevin G. Smith                                                                                               Case No.      10-20270
                                                                                                                      ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                        O                                                                  O   N   I
                    MAILING ADDRESS                                         D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND                      T   I   P
                                                                            B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM                  N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.                  G   I   E
                   (See instructions above.)                                R                                                                  E   D   D
                                                                                                                                               N   A
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Account No. xxxxxxx5744                                                             Opened 6/01/05 Last Active 4/15/10                             E
                                                                                    Automobile                                                     D

Nevada Federal Cred Un
2645 S Mojave Rd                                                                -
Las Vegas, NV 89121

                                                                                                                                                                         675.00
Account No. xxxxxxxx0220                                                            Opened 10/01/96 Last Active 4/23/10
                                                                                    ChargeAccount
Sams Club
Attention: Bankruptcy Department                                                -
Po Box 105968
Atlanta, GA 30353
                                                                                                                                                                           87.00
Account No.




Account No.




Account No.




           2
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                         762.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)
                                                                                                                                               Total
                                                                                                                     (Report on Summary of Schedules)            2,208,334.00


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B6G (Official Form 6G) (12/07)


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  In re             Kevin G. Smith                                                                                         Case No.       10-20270
                                                                                                                ,
                                                                                               Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                                 Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                      State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                            State contract number of any government contract.




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                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          Kevin G. Smith                                                                                     Case No.       10-20270
                                                                                                            ,
                                                                                               Debtor

                                                                    SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                                    NAME AND ADDRESS OF CREDITOR

                  Shawn Smith                                                                     The Morris Palmer Family Trust
                                                                                                  c/o Gary Compton, Esq.
                                                                                                  2950 E Flamingo # L
                                                                                                  Las Vegas, NV 89121




       0
               continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)

 In re    Kevin G. Smith                                                                                Case No.       10-20270
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Single                                 Father                                                      81
                                             Mother                                                      81
Employment:                                               DEBTOR                                                   SPOUSE
Occupation
Name of Employer                     Harrah's/ Act 1 Realty agent
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       2,222.00         $            N/A
2. Estimate monthly overtime                                                                             $           0.00         $            N/A

3. SUBTOTAL                                                                                              $         2,222.00       $                 N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $              0.00      $                 N/A
     b. Insurance                                                                                        $              0.00      $                 N/A
     c. Union dues                                                                                       $              0.00      $                 N/A
     d. Other (Specify):                                                                                 $              0.00      $                 N/A
                                                                                                         $              0.00      $                 N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $              0.00      $                 N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         2,222.00       $                 N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $            0.00        $                 N/A
8. Income from real property                                                                             $       33,400.00        $                 N/A
9. Interest and dividends                                                                                $            0.00        $                 N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $              0.00      $                 N/A
11. Social security or government assistance
(Specify):                                                                                               $              0.00      $                 N/A
                                                                                                         $              0.00      $                 N/A
12. Pension or retirement income                                                                         $              0.00      $                 N/A
13. Other monthly income
(Specify):                                                                                               $              0.00      $                 N/A
                                                                                                         $              0.00      $                 N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $       33,400.00        $                 N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $       35,622.00        $                 N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $           35,622.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)

 In re    Kevin G. Smith                                                                      Case No.    10-20270
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 2,200.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   200.00
                   b. Water and sewer                                                                       $                   115.00
                   c. Telephone                                                                             $                   170.00
                   d. Other Home Owners' Association Fees                                                   $                   100.00
3. Home maintenance (repairs and upkeep)                                                                    $                   450.00
4. Food                                                                                                     $                 1,000.00
5. Clothing                                                                                                 $                   150.00
6. Laundry and dry cleaning                                                                                 $                    60.00
7. Medical and dental expenses                                                                              $                   120.00
8. Transportation (not including car payments)                                                              $                   400.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   250.00
10. Charitable contributions                                                                                $                   200.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   300.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                   760.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                 1,400.00
17. Other mortgages on investment properties                                                                $                27,000.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                34,875.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                35,622.00
b. Average monthly expenses from Line 18 above                                                              $                34,875.00
c. Monthly net income (a. minus b.)                                                                         $                   747.00
                        Case 10-20270-mkn                           Doc 16             Entered 06/19/10 00:01:20       Page 28 of 38
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                 United States Bankruptcy Court
                                                                                     District of Nevada
 In re       Kevin G. Smith                                                                                       Case No.   10-20270
                                                                                            Debtor(s)             Chapter    11




                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                24
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date June 16, 2010                                                           Signature      /s/ Kevin G. Smith
                                                                                             Kevin G. Smith
                                                                                             Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                                United States Bankruptcy Court
                                                                                 District of Nevada
 In re       Kevin G. Smith                                                                                    Case No.       10-20270
                                                                                         Debtor(s)             Chapter        11


                                                        STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                         DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                  SOURCE
                          $8,000.00                               2010 YTD: Harrahs
                          $26,000.00                              2009: Harrahs
                          $26,000.00                              2008: Harrahs
                          $5,000.00                               2010 YTD: real estate commissions
                          $18,500.00                              2009: real estate commissions
                          $24,000.00                              2008: real estate commissions




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                                                                                                                                                               2

               2. Income other than from employment or operation of business

     None      State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                  SOURCE
                           $200,400.00                             2010 YTD: rents from investment properties
                           $400,800.00                             2009: rents from investment properties & real estate sales
                           $400,800.00                             2008: rents from investment properties & real estate sales

               3. Payments to creditors

     None      Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                              DATES OF                                                 AMOUNT STILL
       OF CREDITOR                                                                PAYMENTS                               AMOUNT PAID         OWING

     None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                             AMOUNT
                                                                                  DATES OF                                    PAID OR
                                                                                  PAYMENTS/                                 VALUE OF       AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                                  TRANSFERS                                TRANSFERS         OWING

     None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                                   DATE OF PAYMENT                        AMOUNT PAID         OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

     None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                                            COURT OR AGENCY               STATUS OR
    AND CASE NUMBER              NATURE OF PROCEEDING                                          AND LOCATION                  DISPOSITION
    Doris Milligan vs. Kevin     Contract                                                      District Court of Clark       Pending
    Smith, Act 1 Realty, and DOE                                                               County, Nevada
    Defendants 1-10, and ROE
    Defendants 1-10. 09A585191




*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                                                                                                                                                             3
    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                               DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                               DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                         DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                       FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                      TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                         ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                 NAME AND LOCATION
 NAME AND ADDRESS                                                     OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                  CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                           RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                           DEBTOR, IF ANY                      DATE OF GIFT      VALUE OF GIFT
 St. Thomas More Catholic Church                                 Church                                                weekly contributions of
 130 North Pecos Road                                                                                                  $50.00
 Henderson, NV 89074-3333

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                     DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                               LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                        BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS




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                                                                                                                                                                4

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                  DATE OF PAYMENT,                          AMOUNT OF MONEY
 NAME AND ADDRESS                                                               NAME OF PAYOR IF OTHER                  OR DESCRIPTION AND VALUE
     OF PAYEE                                                                        THAN DEBTOR                              OF PROPERTY
 Riggi Law                                                                      May 2010                               18,961



               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                      DESCRIBE PROPERTY TRANSFERRED
       RELATIONSHIP TO DEBTOR                                                 DATE                             AND VALUE RECEIVED
 Brigette K. Palmer                                                           May 26, 2010            Deed of Trust for Lot 401, Swains Creek Pines,
 238 Ventanna Village Lane                                                                            Unit 3, Kane County, Utah as security for $25,000
 Henderson, NV 89074                                                                                  promissory note.
 purchasers of real estate                                                                            real estate


    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                               AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                       DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                              TRANSFER(S)             IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                  TYPE OF ACCOUNT, LAST FOUR
                                                                                  DIGITS OF ACCOUNT NUMBER,             AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                 AND AMOUNT OF FINAL BALANCE                   OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                             NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                    OF THOSE WITH ACCESS                      DESCRIPTION              DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                        TO BOX OR DEPOSITORY                      OF CONTENTS               SURRENDER, IF ANY




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                                                                                                                                                             5

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                   DATE OF SETOFF                         AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                   DESCRIPTION AND VALUE OF PROPERTY              LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                        NAME USED                              DATES OF OCCUPANCY
 1278 Imperia Drive, Henderson, NV 89052                                        Kevin Smith
 235 Pintale Circle, Henderson, NV 89074                                        Kevin Smith
 1032 Logan Patrick Drive, Henderson, NV 89052                                  Kevin Smith

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                             NAME AND ADDRESS OF                      DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                        NOTICE                  LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                             NAME AND ADDRESS OF                      DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                        NOTICE                  LAW



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                                                                                                                                                               6
    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                              DOCKET NUMBER                           STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                    LAST FOUR DIGITS OF
                                    SOCIAL-SECURITY OR
                                    OTHER INDIVIDUAL
                                    TAXPAYER-I.D. NO.                                                                              BEGINNING AND
 NAME                               (ITIN)/ COMPLETE EIN                  ADDRESS                     NATURE OF BUSINESS           ENDING DATES
 Kevin Smith, Inc.                                                        8935 S. Pecos Road #22A
                                                                          Henderson, NV 89074
 Act 1 Realty, Inc.                                                       8935 S. Pecos Road #22A
                                                                          Henderson, NV 89074
 KGS Investments,                                                         8935 S. Pecos Road #22A
 LLC                                                                      Henderson, NV 89074
 Dana Point Condo,                                                        c/o ABRAMS & TANKO,
 LLC                                                                      LLLP
                                                                          4750 W FLAMINGO RD STE
                                                                          B
                                                                          Las Vegas, NV 89103
 Carmichael 8                                                             2145 Volante Circle         real estate investment
 Investments, LLC                                                         Henderson, NV 89052

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                         ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.


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 NAME AND ADDRESS                                                                                             DATES SERVICES RENDERED
 Ellsworth, Gilman CPAs                                                                                       2000 to the present
 7881 W Charleston Blvd 110
 Las Vegas, NV 89117

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                 ADDRESS                                                 DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                             ADDRESS
 Debtor


    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                       DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                              DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                    INVENTORY SUPERVISOR                                    (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                           NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                         RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                             NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                              NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                             TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                            ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                             TITLE                           DATE OF TERMINATION


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               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                             AMOUNT OF MONEY
 OF RECIPIENT,                                                                DATE AND PURPOSE                              OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                       OF WITHDRAWAL                                 VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                     TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)


                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date June 16, 2010                                                           Signature        /s/ Kevin G. Smith
                                                                                               Kevin G. Smith
                                                                                               Debtor

                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                 United States Bankruptcy Court
                                                                                     District of Nevada
 In re       Kevin G. Smith                                                                                           Case No.   10-20270
                                                                                            Debtor(s)                 Chapter    11


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                         $              18,961.00
              Prior to the filing of this statement I have received                                               $              18,961.00
              Balance Due                                                                                         $                   0.00

2.     The source of the compensation paid to me was:

                   Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Counsel regarding Chapter 11, preparation of all documents, attendance at meeting of creditors, and any other
                 tasks necessary to obtain a discharge other than those tasks excluded below.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor in any adversary proceeding, dischargeability actions, judicial lien avoidances, or
               any advice or counsel relating to TILA, RESPA or any other similar statutory or common law rights to affect a
               mortgage. My services do not include reaffirmation agreements or adding omitted creditors.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       June 16, 2010                                                                 /s/ David A. Riggi, Esq.
                                                                                            David A. Riggi, Esq.
                                                                                            David A. Riggi, Attorney and Counselor at Law
                                                                                            5550 Painted Mirage Rd. #120
                                                                                            Las Vegas, NV 89149
                                                                                            800-378-0887 Fax: (888) 306-7157
                                                                                            riggilaw@gmail.com




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                                                                 United States Bankruptcy Court
                                                                                 District of Nevada
 In re       Kevin G. Smith                                                                                 Case No.   10-20270
                                                                                         Debtor(s)          Chapter    11




                                                VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      June 16, 2010                                                     /s/ Kevin G. Smith
                                                                              Kevin G. Smith
                                                                              Signature of Debtor




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